         Case 1:06-cv-00760-LJB Document 12 Filed 04/13/07 Page 1 of 3




            In the United States Court of Federal Claims

                                    No. 06-760 L

                                (Filed April 13, 2007)

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JOHN R. MILDENBERGER, et al., *
                              *
              Plaintiffs,     *
                              *
          v.                  *
                              *
THE UNITED STATES,            *
                              *
              Defendant.      *
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                    PRELIMINARY SCHEDULING ORDER

        On April 5, 2007, pursuant to Appendix A, ¶ 4 of the Rules of the United
States Court of Federal Claims (RCFC), the parties filed their joint preliminary
status report (JPSR). Therein, the parties reported to the court that they anticipate
that this case will go forward to litigation and that alternative dispute resolution is
not a viable option at this time. The parties state that the subject matter should be
bifurcated and have both a liability phase and a damages phase, with liability being
addressed first. In that regard, counsel for the respective parties request that the
parties be permitted to engage in discovery and determine if filing a dispositive
motion is appropriate in lieu of or in addition to trial. Additionally, plaintiff may
decide to file a motion for class certification pursuant to RCFC 23; defendant will
oppose any such motion.

       Upon an examination of the pleadings and the JPSR, pursuant to RCFC
16(b), it is hereby ORDERED that the parties’ proposed schedule is GRANTED,
as follows:

      (1) Initial Disclosures, pursuant to RCFC 26(a), shall be exchanged between
the parties on or before May 11, 2007.
        Case 1:06-cv-00760-LJB Document 12 Filed 04/13/07 Page 2 of 3




       (2) All fact discovery, including production of documents, depositions,
interrogatories and requests for admissions, as well as any amendment of pleadings
shall be COMPLETED on or before October 11, 2007.

      (3) The parties shall identify and disclose all expert witnesses by October
18, 2007.

      (4) The parties shall COMPLETE all expert discovery and exchange
expert reports on or before November 16, 2007.

       (5) On November 30, 2007, or two weeks after completion of discovery,
whichever occurs earlier, counsel are directed to FILE a Joint Status Report
informing the court of the status of proceedings in the case and the extent to which
the parties have determined whether any or all of the instant matter may be settled.
The status report shall also set forth a proposed schedule for the exchanges
required by Appendix A, ¶ 13 and the filings required by ¶¶ 14
through 17. Finally, the parties are directed to inform the court whether any or all
of the issues presented may be resolved by summary judgment and if so, a deadline
for the submission of a moving brief shall be stated.




                                             /s/Lynn J. Bush
                                             LYNN J. BUSH
                                             Judge
Case 1:06-cv-00760-LJB Document 12 Filed 04/13/07 Page 3 of 3
